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 7

 8                            UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  EASTERN DIVISION
11   DEVIN SANTIVANEZ, an individual,            CASE NO. 5:22-cv-00079 PA (SHKx)
12               Plaintiff,                      CERTIFICATE OF SERVICE OF
                                                 ADDITIONAL DOCUMENTS
13        vs.                                    AFTER FILING OF NOTICE OF
                                                 REMOVAL OF CIVIL ACTION
14   ZUMIEZ INC. AND DOES 1 - 24,
     inclusive,
15
                 Defendants.
16

17
           I, LaDonna Mims, certify and declare as follows:
18
           I am over the age of 18 years and not a party to this action.
19
           My business address is Jackson Lewis P.C., 400 Capitol Mall, Suite 1600,
20
     Sacramento, California 95814, which is located in the county and state where the
21
     mailing described below took place.
22
           On January 14, 2022, I served the following:
23
                   NOTICE OF ASSIGNMENT OF EASTERN DIVISION
24                  REMOVAL CSE AND NOTICE RE CONSENT TO
                    PROCEED BEFORE A U.S. MAGISTRATE JUDGE [Dkt. 4]
25
                   NOTICE TO PARTIES OF COURT-DIRECTED ADR
26                  PROGRAM [Dkt. 5]
                   NOTICE TO COUNSEL RE CONSENT TO PROCEED
27                  BEFORE A UNITED STATES MAGISTRATE JUDGE [Dkt.
                    6]
28
                                                1            CASE NO. 5:22-cv-00079 PA (SHKx)
       CERTIFICATE OF SERVICE OF ADDITIONAL DOCUMENTS AFTER FILING OF NOTICE OF REMOVAL
                                         OF CIVIL ACTION
Case 5:22-cv-00079-PA-SHK Document 7 Filed 01/14/22 Page 2 of 2 Page ID #:74
